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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


CASSAVA SCIENCES, INC.,
                                                      Case No. 1:22-cv-09409-GHW-OTW
                 Plaintiff,

        v.

DAVID BREDT, et al.




        DECLARATION OF MICHAEL A. VATIS IN SUPPORT OF MOTION TO
        WITHDRAW MATTHEW J. LANGLEY AS COUNSEL FOR PLAINTIFF

        I, Michael A. Vatis, declare under penalty of perjury that the following is true and correct:

        1.      I submit this declaration in support of the motion seeking permission from the Court

to withdraw the appearance of Matthew J. Langley as counsel for Plaintiff, Cassava Sciences, Inc.,

in the above-captioned matter.

        2.      Matthew J. Langley is no longer employed with Benesch, Friedlander, Coplan &

Aronoff, LLP and therefore, they will no longer be able to represent Plaintiff, Cassava Sciences,

Inc., in this matter.

        3.      J. Erik Connolly, Timothy M. Frey and Kathleen Watson Moss of Benesch made

appearances as pro hac vice, and Michael Vatis of Benesch and a member of the New York state

bar will continue to represent Plaintiff, Cassava Sciences, Inc. in this action.
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       4.      Plaintiff, Cassava Sciences, Inc. is aware of the withdrawal of Matthew J. Langley

and the continued representation by undersigned counsel.



Dated: August 22, 2023                           Respectfully submitted,

                                                 By: s/Michael A. Vatis
                                                 Michael A. Vatis (NY Bar#2258655)
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                                                 Timothy Frey (Pro Hac Vice)
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                                                 Attorneys for Plaintiff
